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  DOWD, J.

                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

  United States of America                         )
                                                   )     CASE NO. 1:07CR338-13
                 Plaintiff(s),                     )
                                                   )
          v.                                       )     ORDER
                                                   )
  Janice Johnson                                   )
                                                   )
                 Defendant(s).                     )
                                                   )

          A hearing was conducted on November 1, 2010, regarding a petition filed by the U.S.

  Probation Office regarding violations of the defendant of the terms and conditions of supervised

  release. The defendant Janice Johnson and her counsel, Neal Atway appeared. A report and

  recommendation was filed on October 13, 2010 (see docket # 646). The Court adopts the report

  and recommendation of Magistrate Judge George J. Limbert and finds the defendant in violation

  of her terms and conditions of supervised release as stated in the Violation Report.

          IT IS ORDERED that the defendant be committed to the custody of the Bureau of

  Prisons for a period of two (2) months with credit for time served in custody since October 18,

  2010.

          IT IS FURTHER ORDERED that upon release from confinement the defendant is to

  continue on supervised release for the remaining period of two years. All conditions of

  supervised release previously imposed will continue.

          IT IS SO ORDERED.


   November 2, 2010                              /s/ David D. Dowd, Jr.
  Date                                         David D. Dowd, Jr.
                                               U.S. District Judge
